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OSDG- CVOOOGB- KELLY & CO 1ST RESPONDERS V STORNE SERV|CES LLC

Tnis information is provided as a service and is not considered an official court recordl
Dispiaying ‘i thru 11 of11 records for ali dockets returned for case UBDG-CVGGOSE_

 

   
   

 

    
  

 

 

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5 osiowzoog D§:tkr;z Judge Assigned
DE°:$§ Pei Fiied in circuit ct
DEO:;;: Judge Assigned
DE°::_;E Summons issued-Circuit
Text: Document lD: 09-8|\!|08~19, for STORi\/l Si,"-,ZRV|CES, LLC;
D;:t|;;:c Order

Text: The i~lonorable Johjn Jacobs is hereby assigned to hear end determine this cause through
its final disposition and entry of ali orders relating to any after- trial matters as may be
necessary or proper Cleri< to notify interested parties Jonn G. i\/ioody, Circuit dodge

 

05/2112009 casket

5 Entry: g;
Text: Socument |D - OQ-SN§OS-‘i§); Served To ~ S?OR|VI SEF€V|CES, i_i_C; Server - ; Served Date -

14~MAY~09; Serveci Time ~ 13:(}0:00; Service Type - Sheriff Depaitment; Reason Description

Sumrnons Persorta|iy Served

06!08/2009 Docket . .
Entry: i\/iotlon F:ied

Text: DEFENDAN?‘S |V|OTiON TO D§SM|SS.

Fiiing Party: GAPKR!SON , P§-iti_L|P R
Docket
Entry:
Fiiing Party: GARR!SON , PH|LL|P ii

Docket
Entry At°t`:davit Fi!ed

Text: AFF!DAVR' OF“ TOMi\/§Y HGPK|NS. (EX§-liB|"i' 1)
Filing Party: GARR|SON , Pi-iiLl_iP ii
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Entry'.
Text: SUGGEST|ONS |N SUPPORT OF DEFEN[IJANT'S N|OT|ON TO DiS|\/ilSS.
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Certificate of Service

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l'N 'lt`Hi§ C§`RCUIT COUR”.{` OF DOUGLAS COUNTY. MISSOURI
DIVISION ONE

i`<lelly end Contpany lst

Responclers, LLC, s Missouri

limited iiiz.i‘oility Coni_pany,
Plnintiff,

t‘§torni Services: lJLC, s Georgis
limited l‘_,iel)ility Coinpnny,
l`_`)el`end snt_

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vs ) Car@ N@. “c>‘\"§\€>~;__\;oe~e toto
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Coines now Plnintit_`i_" and for its sense of ection against Det`enclsnt, states to the
{Iourt ss t`ollows:

Stateinent of Fzzcts Comn'ion to All Allc§zitions

l. ,Plaintitl is o l\/lissoti.ri iirnitcd liability company Wl.tose place ol;` business is
Rt. 2, Box 5 l2, Norwood, l)ottglss County, Missonri.

2. Der"endzoit is n Gecrgi.s iiiriitet;l liability company Wliose piece of business
is 272 Gsl< l-l.ili Roa.d, Cfi‘iroJ G'eorg;in.; encl, Wltose registered agent st that address is
Tonnn y Hopl<irts.

3. Tliis lawsuit is for breach-of contract Wli.icli Wss entered into in tire Stnte
ot`i\/tissouri. '
4. "l"list venue is proper in l)ooglas_ Cottnty, l\/tissouri for tire reason that tire

connect entered into between tile parties Wss entered into in Donglss Connty, l\/lissoiiri
and the ttl§egstions end facts herein started occurred in tlie Sts'e of l\/lissotiri

5. Tlist plaintiff is s contractor providing disaster relief assistance consisting -
ot`inoliile laundry facilities mobile showers and mobile sleeping districts ss `¢'Well ss all "ot"
tire support equipment to operate tire mobile tsciliiies herein-descril)ed.i ij ._ j___,.'

i_.i -v.-'

 

>._.t

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6. 'l"hat on or about August Bl, 2008 l.`)ct`end:;tnt contracted With Plaint'it"`i`_1 in
the Statc ot` i\/Iissouri, for _`Plaintift` to provide its labor and seivices, With support
equipment to De.t`endan't in the states ot` M_ississippi, _l,iouisiana and Te_i:as for storm
disaster assistance

7. Plain_titt agreed to provide such services as requested by Detendant
pursuant to Plaintift`s “2006 Pricing Fornt” (hereinai?tei4 pricingr fornt) hereto attached as
tiniiiliit “A” and incorporated herein by reference

,8. Plaintifi", had, prior to Augtist E»l_1 2003 provided to l`)et`endant' the pricing
t`orni and Defendant Was tarniiiar With and aware of Plai.ntit`t“s fees and pricing for its
services and eou.ipn:tent.

9. 'l`hat Plaintit`f provided services as requested by Dc:i;"endant front August
3§, 2008 until Scpternber 26, 2(){)3, said services vvere provided to Defcndant and billed
to Defendant on a L‘per job’“ basis

Connt i ~ Serviccs Rendercd

lO. Piaintift` hereby restates and incorporates paragraphs l w~ 9 ot` its petition
by reference as though the same Wcre tully set lforth herein

li. Gn A.ugust 31, 2008, Dct`endant contracted With l-‘laintil”t vvhereby
Piainti't`f agreed to iiirnis_h labor and services to Defendant on account in return li`or
-Det`endan.t's agreement to pay the amount due pursuant to Plaintitis pricing torni.

l2. Plaintiit”s labor and services are inorc fully described in the statement ot`
account Which is attached hereto as l)laititiffs E>:hibit “B” and incorporated herein by
re_ibrence_

l3. C)n Feb_ruary ll, 2009 Plaintiti` furnished to i")et`endant a statement ot
account ot` 316,809)72?.00 front Detendant With the total amount remaining unpaid and
due on the account

ifi. Despite being jl`i.irnishcd vrith a copy ot` the statementj Dct`end.ant l'ias
failed and retused to )av to Plaintifi`tlio unpaid sunis due on account of iii 530,415.0().
i ., l :

Vi/'t~`tt§i?i@ii`()l§l§, in Count l, Plaintift` prays t`or judgment against I)eieritiiiiit in the
amount ot` fill 53 l_,¢ii S.O{) and t`or such other and .l"uitlier Orders as to the Couit seean

just and proper iii-the }__ircinises.

Connt ii ~ Onantnrn h/ter‘tiit ~ Alternative Count

E\}

Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 3 of 25

l5. Plaintiff hereby restates and incorporates paragraphs l ve iii of its petition
by reference as though the same vvere fully set forth herein

16. Pursuant to and in coinrection With Piaintiff` s contract with `Deferidant,
i’laintiff furnished labor and services to Defcridarrt as set forth in E:>;hibit “B” and
incorporated herein by reference

l?r !-‘rt the special instance and request of i)cfendant, Plaintiff performed
valuable labor and services to Defendant having a fair and reasonable value of
$16,809,723.00.

lS. 'l`he vvorli performed by Plaintiff Was for Defendant’s use and benefit
_t)efendant requested and accepted this labor and services front Piaintiff.

i9. Defcndant has paid Plaintiff the suni of 3315,279,308¥00 for the work
performed by Plaintiff.

2(). _l_')et`endant has faiied and refused to pay Plaintiff the remaining balance
due and owing to Plaintiff in the amount of $l,§ 30,415.0[) despite a demand for payment
of said balance having been made to Defendant by Plaintiff

2l. lDefendant has been unjustly enriched by the unpaid portion of the
reasonable value of labor and services supplied by Plaintiff in the amount of
. l,§_")()_,-fll_§.(l() plus interest

Wbcrefore in Count il, Plaintiff hereby prays that this Court enter judgment in its
favor against Defendant for damages in thc amount of $lJSBG,dlB.OO plus lawful interest

front the date said suins vvere due and deniandcd, for costs and for such other and further
relief as to this Court seems just and proper in the premises

Cr)unt ill - Restitutton and Uniust Eni'ichnient ~ Altcrnative Coant
22. i"’iaintiff hereby restates and incorporates paragrapi“is l ~e 21 of his petition
by reference as though the sanie Were fully set forth herein

23 Pursuant to and in connection With Piaintift`s contract vvith i)el"cndant;
Plai itiff conferred a benefit to Defendant for labor and services to Dei:endant.

24 Defendant acloiowiedged; accepted and recognized the benth front
Pla_in`tiff in the amount of$l,SBO,fil 5.©{).

25. De.fendant accepted and retained the benefit conferred by Piaintif'f for
labor and services to ljcfendant'.

3

Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 4 of 25

26. Tliet it Weuld be unjust for Deferid.eiit to reteiii the benefit e<.)rrferr_‘ed by
Piz'iiiitiff te De["eiid;-riit for ieber and services te Defeiidant.

Wiierefere in Ceuiit [H, Pleititiff hereby prays that this Cettrt enter judgment iii
his favor against De'ferident for darriziges iii tire amount ei` $i,§_'§(}_,f!~i§.©t} plus iawftri
interest from the date said sums Were due end deiiiendec`t, for costs and for such other and
further relief es te this Ceurt seems just end proper iii the premises

Cetrrrt IV- Petitier: err Aeeeirrit »§.t`zriiure to Ubiec:t-Aitermrtive Cr>imt

27. Piairitii"i"hereby restates and ineer]:>t)rates paragraphs `i - 26 er its petition
by reference as theugir the same Were tully set ‘Fei'tii iiereiir

23 Durin_§; the period from August 31, 2008 through Septeiriiier 262 2008y
Pleintiff lt`urnished labor and services en account te Dei"eiideiit Wiiieii is mere ftu
described iii Plaiiitii:`i‘s Exhibit “B” and irieerpere.ted hereiii by reference

29 Ori i~~`ebruery Ii, 20€'9 Plaintii'lf" iiirnished Der`erid.zrrit With a steteriie]rr of
aeeeruit of E’:>`i 69809,"/`23.00 the total erirr)unt et tire eeeeurrt.

30. After being iiu'nisheri with a copy ei` the aceeurit, De'{:`errdaiit has net
ebjeeteri te the accuracy er the aee<)urit; however, has refuseti to pay $1,530,415.00 of
the account

WHER,E.FORE, Pleiiitiii`f prays judgment egeirist Defeiidauit iii the airiieuiit et`
53§,5301415_(`}0 and tier streit ether end further Ortiers es te the Cetu_t seems just erie
proper iii the premises

%V A¢€t‘/;S§e<,§/Sé'§?
grim `W_ emrr@rr_z¢t§ss /¢"
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P. O. BO>; iOi
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(417) 683-4163
{4"1'7)633-3230/&1)<

Atterrrey for Piairirit`_t`

4

Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 5 of 25

STATE OF MISSOURI )
)ss.
COUN'IY OF DOUG'LAS )

Timctiiy Keiiy, being duly swcrir, upon his etttii, states that tie is the agent rcr
P§rtirit§t`i` iiereiit, and that the facts and matters es starrett herein erc true, according tc his
best knowledge end belief

"i"ém<)tiry il{~eii/y

Stzttscribed and sworn tc before tire this lsi day cf i\/iz=.yj 2009

§§im `W. Bi*tticfett i\?£§?ter£ijy Pubiic

 

JOHN W. BRUFFE_TT
Notery Puclic - thary Seaf
-STATE OF M!SS©UR!
Dougles Cotmty - Ccmm_#G'/'-¢BSEBB
My Commisstcn E)<pires May t7, 2011

thery Ccmriiissicn Expires:

 

 

 

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IN THE CIRCUIT COURT OF DOUGLAS COUNTY, MISSOURI, DIVISION ()NE

KELLY AND COMPANY
EST RESPONDERS, LLC,
a l\/lissoun` Lirnited Liability Cornpany,

Piaintiff
Case No. 09DG~CV00066

V.

STORl\/i SERVICES, LLC,
a Georgia Limited Liahil.ity Conipany,

"-¢../\-u/\»/\.¢/\_/\_/\_/M_,_/\_,r\_,/\._/\_,z

Defendant
DEFENDANT’S MOTION TO DISM!SS

C()MES NOW Defendant, Storrn. Services, LLC, appearing specially for the purposes of
this Motion and Without entering a general appearance in this action, and moves the Court to
dismiss Plaintift` s Petition fried lierein, and each _Count thereof, upon the following grounds and
for the following reasons:

l. The Petition, and each Connt thereof, fails to state sufficient facts to show that
this Court has personal jurisdiction over the Det`endant. l

2. The Court lacks jurisdiction over the person of the Defendant for the reason that
none of the asserted causes of action arise out of activities covered by l\/lissouri’s long arm, l\/lo.
Rev. Stat. § 506.500, and the Defendant has had insufficient minimum contacts With Missouri to
satisfy due process requirements Maintenance of this suit against the Defendant Would offend
traditional notions of fair play and substantial justice in violation of the due process clause of the
Fourteenth Arnendrnent to the United States Constitution. See attached Affidavit of Toinniy
Hopkins incorporated herein by reference as Exhibit 1.

3. The Petition, and each Count thereof, fails to state a claim for relief or cause of

action upon which the relief sought may properly he granted

2593670-01 Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 7 of 25

L/l?<es:?ly suhniitted,

Phiiirp ri carries tito #19372
pgarrison@polsinelli.corn
lustin R. Wati<ins MO #60151
jwatkins@polsinelli.corn
POLSINELLI SHUGHART PC
Hannnons Tower

901 St. Louis Street, Suite 1200
Springfield, MO 65806

(417) 869~3353

FaX: (417) 869-9943

Atrorneysfor Sform Servz`ces, LLC

CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the above and foregoing has been sent, via
facsimile and U.S. Mail, postage prepaid, this ¢'§:’ day of .lune, 2009 to:

lohn W. Bruffett

Attorney at Law
Ava, MO 65608

Facsirnile (417) 683~3280 f/
Attorney for Plaintiff /" ) t
t _ W\

Attorneys for Defendant Stonn Services, LLC

25936?@-‘“ Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 8 of 25

IN THE CIRCUIT COURT (}F DOUGLAS COUN'I`Y, MISSOURI, DIVISION ONE

KELLY AND COMPANY
lST RESPGNDERS, LLC,
a Missouri limited liability Cornpany,

Plaintiff

Case l\lo. `09DG-CV00066
v.

STORM SERVICES, LLC,
a Georgia Limited liability Company,

Defendant

\._/‘-.,¢"~__/\~/\_/\-../\_/\../\../`\-_r'"~_/\_./

AFFIDAVET €}F T{}MMY HGPKINS

STATE OF GEORGIA )
) ss.

Coot\irv or C;;r_; atl.¥ )

COMES NOW, Tornrny Hopl<ins, of lawful age, and after first being duly sworn upon
his oath, states as follows:

l. l arn over the age of 18 and mentally capable of making this Affidavit.

2. l have personal knowledge of all facts and agreements set forth in this Affidavit.

3. l arn a member of Stonn Services, .LLC, (“Stonn Services”) the named Defendant
in the above-styled case-.

4. Storrn Services is a Limited Liability Cornpany organized in the state of Georgia

and has its principal place of business in that state

5. Storrn Services is not registered to do business in l\/Iissouri.

6. Storrn Services does not maintain any offices, equipment or employees in
l\/lissouri.

7. Storni Services does not have a registered agent in Missouri.

S. Storrn Services does not own any real or personal property located in i\/lissouri.

EXH|B`[T

2503@@3_02 Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 9 of

 

9. Storrn Services is engaged in the business of storm disaster assistance providing
labor, servicesand equipment for emergency relief in response to natural disasters and regional
emergencies

l0, To my information and beliet`, Steve Kelly is a member of Kelly and Cornpany lst
Responders, LLC, (_“Kelly and Cornpany”) the Plaintiii in this case.

l l. Th.e first contact l had Witb Kelly and Cornpany was when l met a representative
it sent to a conference in Mobile, Alabama in 2006.

l2. Shortly after that meeting, ha representative of Kelly and Company called me in
2006 at the offices of Storm Services located in Georgia and solicited a business relationship
With Storrn Services.

l3. Storm Services by and through its agents, has traveled to Missouri twice since its
organization in Georgia in 2005.

l4. Earlier this year, in 2009, acting as agent of Storm Servi.ces l visited St. Louis,
Missouri for one (l) day to meet with a potential customer. This meeting did not involve any of
the facts related to this case and Kelly and Company was not present or involved in any way.

15. ln 2006, at the request of Kelly and Company, i visited l\lorwood, l\/lissouri with
another member oi` Storrn Services to view equipment owned by Kelly and Cornpany, and used
for storm disaster assistance Our trip to Missouri on that occasion, Which consisted of a flight to
the airport in Springiield, l\/lissouri., travei by car to and from Norwood, l\/lissou.ri, and our flight
out of Missouri, lasted approximateiy one (l) night and one (].) day.

16, Approximately four additional meetings have been held between members of
Stonn Services and l<ielly and Company, including a meeting in l\/lempiiis, lennessee prior to the

visit to Noivvcod, l\/lissouri, as well as meetings in liattisburg, Mississippi, and Gulfport,

zsc:z@ssnz€ase 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 10 of 25

l\/lississippi. The fourth meeting took place approximately Febraary ll, 2009, at the offices of
Storm Services in Georgia.

17‘ Since 2006, Kelly and Company has periodically sent pricing information via
facsimile transmission to Storm Services at its offices located in Georgia. This pricing
information identified prices for labor, services and equipment related to storm disaster
assistance

18. When Storin Services was engaged to provide storm disaster assistance by third
parties, it would activate (notify) Kelly and Cornpany to provide selected labor, services and
equipment needed

l9. To activate Keliy and Corn.pany an agent of Storrn Services would contact l<lelly
and Company by phone from Georgia to notify them of labor, services and equipment needed at
specified locations

20. ln .luly 2006, Storm Services provided storm disaster assistance at a site located in
St. Louis, l\/lissouri. Keily and Company was activated to provide one laundry trailer for storm
disaster assistance at the St. Louis site ior approximately live (5) days. Storrn Services did not
have any ot` its personnel or equipment on-site, and this job did not involve any facts related to
this case

21. The only other occasion Storm Services provided storm disaster assistance in
Missouri was at a site located in Joplin, Missouri in May 2008. Storrn Services arranged for the
supply of three portable toilets, two hand~washing units, and refueling of a generator on that
occasion, which were on~site front approximately l\/lay 12 ~ l\/lay 22. Kelly and Company did not
provide any labor, services or equipment for use at the loplin site. 'l`his job did not involve any

facts related to this case.

2503668.02Case 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 11 of 25

22. Otiier titan as stated h.erein, Storm Services’ communication with Keliy and
Company has been by telephone and facsimile transmission from Georgia or Mississippi.
Comrnunications were limited to activating Kelly and Cornpany when labor, services and
equipment were needed, as well as coordinating the labor, services and equipment on-site. Stonn
Services also communicated with Kelly and Cornpany in the same manner from Georgia in
relation to invoices and payments for labor, services and equipment provided by them.

23. Storm Services has made payments to Kelly and Company by wire transfer from
Georgia and ’oy check sent through interstate mail from Georgia except for one that was
personally picked up by Kelly and Company in Georgia at the February li, 2009 meeting

24. With regard to the matters at issue in this suit, beginning on August 31, 2008,
Storm Services contacted and activated Kelly and Coinpany via telephone from Georgia to
provide labor, services and equipment for storm disaster assistance at locations in l\/lississippi,
Louisiana and Texas, but none in Missouri.

25. The only other time Storm Services has activated Kelly and Cornpany and used its
labor, services or equipment was in Marcli 2007 when it notified Kelly and Cornpany from
Georgia to provide storm disaster assistance at a location in Americus, Georgia. The storm
disaster assistance provided in Americus, Georgia did not involve any facts related to this case

roMi\/rv pertains

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stare or oaoaoiA )

) ss.
coUN"rv or §£€adgg )

On this Sl:b day of .lune, 2009, before me personally appeared Tommy Hoplrins, to me
personally known to be the person who executed the foregoing instrument and states that the
facts contained therein are true and correct

l\lotary Pnblic
My Cornmission Expires:

l~so-'ls

 

2503668.02€@18€ 6:09-cv-03188-ODS Document 1-1 Filed 06/11/09 Page 13 of 25

IN THE CIRCUIT C()URT ()F DOUGLAS COUN’I`Y, MI_SSOURI, DIVISION ONE

KELLY ANI) COi\/IPANY )

lST RESPONDERS, LLC, )

a l\/lissouri i;irnited Liability C.ornpa_ny, )
Pla§mi_ff, § Case No. OQDG~CVOOGoo

)

v. )

)

S'i`ORl\/l SERVICES, LLC,. )

a Georgia Lirnited Liability Coi'npany, )

)

Defendant. )

SUGGESTIONS IN SUPPORT ()F DEFENDANT’S MOTI`()N TO I)ISMISS

COMES NOW Dei"endant, Storrn Services, LLC, appearing specially for the purposes ot`
these suggestions and without entering a generai appearance in this action, and submits the
following Suggestions in Support of Defendant’s l\/lotion to Disrniss filed herei_n:

SUMMARY

Tlie Petition filed by Plaintiff Kelly and Conipany lst Responders LLC (hereinafter
“Plaintift"`) against Det`endant Storrn Services, LLC (hereinatter "‘Storrn Services”), shoqu be
dismissed 'l`liis Court lacks jurisdiction over Storin Services because P§aintit`f fails to allege
facts demonstrating that the asserted causes of action arise out of activities covered by Missouri’s
long arm statute, and Storin Services’ limited contacts Witlt Missouri are insufficient to satisfy
due process requirements Moreover, .Plaintift fails to state a cause of action upon Wliich relietn
may be granted Accordingly, Plaintit't"s entire Petition should be dismissed

ARGUl\/IENT

I. Plaintiff Has Not Plead Facts I)emonst:”ating Personal Jurisdiction 0ver Storm
Serviees.

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2503794 02

Plaintiff"s Petition should he dismissed because this Conit lacks personal jurisdiction
over Storm Services. When a defendant moves for dismissal for lack of personal jurisdiction, the
burden rests With the plaintiff to make a prima facie showing of personal jurisdiction Srate ex
rel. William RanniAssoc. v. Hartenbnch, 742 S.W.Zd 134, l37 (l\/lo. l987) (en banc). T_o meet
this hurden, Plaintiff must plead and prove that this action arises out of activity covered by
i\/iissouri’s long-arm statute, and that Storni Services has sufficient minimum contacts with
l\/Iissouri justifying the exercise of personal jurisdiction Id. lnquiry is limited to an examination
of the Petition on its face and any supporting affidavits submitted by the parties Wilson Too! &
Die, Inc. v. TBDN-Tennessee Cr)., 237 S.W.Bd oll, 6l5 (Mo. App. E.D. 2007). This court
lacks jurisdiction because Plaintiff has failed to plead sufficient lfacts showing this action arises
out of activity covered by the long-arm statute, or that Storrn Services has sufficient minimum
contacts With Missouri to justify the exercise of personal jurisdiction

A. Plaintiff has failed to plead sufficient facts to show that the actions asserted
in the Petition arise out of activity covered by Missouri’s long-arm statute

Plaintiff pleads, and the Aftidavit of Tommy liopl\'ins, attached to Storm Services’
l\/lotion to Disniiss as Exhibit l_, demonstrates that Storm Services is not a resident of Missouri.
Plaintit`t`s Petition {l?.; Aftidavit of Tornmy Hopi<iiis §§ 4. 'i`"o 1oring a non-resident defendant
under the jurisdiction of l\/lissouri, a plaintiff must first establish that the action arises out of
activity covered by l\/lissouri’s long-arm statute Conway v. Royalite, iZ S.W.Bd 3l4, 318 (Mo.
2000). 'l`hat statute provides:

Any person or firm, vvhether or not a citizen or resident of this state, or any

corporation, vvho in person or through an agent does any of the acts enumerated in

this section, thereby submits such personJ tirm, or corporation, and, if an

individuai, his personal representativeb to the jurisdiction ofthc courts of this state

as to any cause of action arising from the doing of any such acts:

(l) The transaction of business vvithin this state;

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25037'()¢1.(}2

(2) 'fhe making of any contract Wi`tiiin this state;
(3`} fhc commission cfa tortious act within this state;
(4) The ownership, use, or possession of any real estate situated in this
state; _
(5) The contracting to insure any person, property or risk located within
this State at the time of Contracting;
(6) Engaging in an act of sexual intercourse within this state with the
mother of a child on or near the probable period of conception of that
child
Mo. Rev. Stat. § 506.5(}(} (ZGO{)). Based on the pieadings, it is obvious that subsection (3), (¢i),
(5), and (6) do not apply in this case. Subsection (i)g however, also does not apply for the simpie
reason that Plaintiff has not plead any facts demonstrating the transaction of business within
l\/lissouri by Storin Sei‘vices. See Id. at 3l8 (“[Plaiiitiffl must show that acts contemplated by the
statute tool<. place.”). To the extent that Plaintiff alleges long-arm jurisdiction under subsection
(2), based on an alieged contract entered in Missouri, that contention must fail for the reason that
Plainti.ff has failed to plead facts demonstrating that the alleged contract confers long-ann
jurisdiction over Storin Services.
The failure to piead facts demonstrating that jurisdiction is proper is fatal. See Gohlstoa
v. Lighrfoot, 825 S.W.Zd 864_, 868 (i\/lo. App. W.D. l992) (t`inding dismissal of petition
appropriate based on failure of plaintiff to plead facts demonstrating personal `jui'isdiction).
i’laintiff does not specificaliy allege anywhere in its Petition that jurisdiction is proper.
ieiowever, Plaintiff does aliege, in § 4, “ft]hat venue is proper in Dou.glas County, Missouri for
the reason that the contract entered into between the parties was entered into in Douglas County,
Missouri.” Further, in j 3, Plaintiff ailcges the existence of a contract “entered into in the State

ofl\/iissouri,“ and iii f 6 that Stori'n Serviccs “contracted with Plaintiff[] in the state of l\/lissouri.”

These conciusory statements represent the limit of i°laintift"s ailegations set forth in the ?etition

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to support long-arm jurisdiction under subsection (2), and are Wholly insufficient to establish
long-arm jurisdiction over Storni Services in this state.

As a fact pleading State, Missouri requires a petition to state "'fact[sj in support of each
essential element of the cause pleaded.” Greerr v. Pemr.-America Ins. Co., 242 S.W.Bd. 374, 379
(i\/io. App. W.D. 2007) (citation omittcd). Plaintit`fs “cannot merely assert conclusions,” and
conclusions not supported by facts are disregarded in determining Whether a petition states a
cause of action Will.'iams v. Barnes & Nob[e, Inc., 174 S.W.Bd 556, 559 (l\/lo.App. W.D. 2005).
Personal jurisdiction over a defendant is an essential element to any cause of action, and thus
must be supported by_facts, not conclusions Missouri Soybean Ass’n. v. Missr)uri Clea"n War,‘er
Comm’n., iOQ S.W.Bd ltl, 21 (i\/lo. 2093) (en banc). Piaintiff, however, states no facts in
support of its conctusion that the contract entered between the parties Was entered in l\/lissouri.

in l\/lissouri, “{aj contract is made Where the last act necessary to form a binding contract
occurs." Johnson Heater Cr)rp. v. Deppe, 86 S.W.3d ll»¢i, l_l9 (Mo. App. E.D. 2002). This
means that “[t]or purposes of long-arm jurisdiction, a contract is made Wliere acceptance
occurs.77 Ict'. Plaintiff has not plead facts to support the proposition that acceptance of an offer,
creating a contract, took place in l\/lissouri. The bare conclusion that the parties entered into the
alleged contract in l\/lissouri is just tliat, a bare conclusion not supported by facts, and thus must
be disregarded in determining Whether the Petition states a cause of action See Laser Visir)n.
Centers, Inc. v. Laser Vision Centers Intl., 930 S.W.Zd 29 (l\/lo. App. E.D. l996) (iinding
sufficient allegations of jurisdiction based on alleged transaction of business in l\/lissouri further
supported by facts detailing the transactions). ’i`he Petition fails to state a cause of action upon

which relief may be granted because Plaintiff has failed to ailege facts demonstrating that the

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causes of action arise out of activity covered by the long-arm statute Accordingly, the Petition
shouid be dismissed

B. Storm Services has insufficient minimum contacts with Missouri to justify
the exercise of personal jurisdiction

Storm Services denies entering into any contract with Plaintiff in l\/lissouri, and denies
that this action arises out of the transaction of business by Storrn Services in l.\/iissouri. But, even
assuming, for the sake of argument only, that Storm Services entered into a contract with
Plaintiff in l\/lissouri, or that this action arises out of the transaction of business by Storrn
Services in tdissouri, Plaintiff does not allege facts demonstrating and cannot prove that Storrn
Seryices has had sufficient minimum contacts with l\/lissouri to satisfy due process requirements
'l"o establish minimum contacts, a defendant must purposefuily avail itself of the privilege of
conducting activities within the forum state Burger King Corp. v. Rudzewicz, rail U.S. 462,
475 (1985). As stated in Burger King:

Th[e] purposeful availment requirement ensures that a defendant wili not be haled

into a jurisdiction solely as a result of random, fortuitous, or attenuated contacts,

or of the unilateral activity of another party or third person lurisdiction is proper,

however, where the contacts proximately result from actions by the defendant

himself`that create a substantial connection with the forum state
Id. (internal quotation omitted). The defendant must possess sufficient “ininimum contacts with
[the forum statej such that maintenance of the suit does not offend traditional notions of fair play
and substantial justice.” Inrern.atirmal Slwe Co. v. Washington, 326 U.S. 31.0, 319 (i945)_

'fo determine whether a defendant has sufficient minimum contacts, courts consider five
factors: (l) the nature and qua§ity of contacts with the forum state; (2) the quantity of contacts;
(3} the reiation of the cause of action to the contact; (4) the interest of the forum state in the

litigation; and (5) the convenience or inconvenience to the parties Angelica Corp. v. Gal[ery

Mg. Cor])., 904 F.Supp. 993, 996(1Ii.l). l\/io. 1995);Alia'ein v. Asfoor', 213 S.W.$d 213_, Qio (l\/lo.

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App. E.i). 2007). The first three factors are primary to the determination while the last two are
secondaryl Angeli`ca Corp., 904 F.Supp. at 996; Aldein, 2l3 S.W.3d at 2l6. l\/loreover, in
determining personal jurisdiction in a contract case, courts consider prior negotiations and
contemplated future consequences, the terms cf the contract, and the actual course of dealing
between the parties Burger King, 471 U.S. at 479

ln the present case, Storm Services’ iimited contacts with l\/lissouri are insufficient to
satisfy due processl Storm Services is not registered to do business in l\/Iissouri, does not
maintain offices, equipment or employees in l\/iissouri, does not have a registered agent in
Missouri, and does not own reai or personal property located in l\/lissouri. Aft"idavit of Tommy
Hopl<ins il‘§`§ 5-8. Storm Services, by and through its agents came to i\/iissouri twice: in 2006 for
one night and one day for a meeting in Norwood, l\/lissouri to view equipment owned by
Piaintiff, and in 2009 for one day to meet with a potentiai customer in St. l,ouis, l\/iissouri.
Affidavit of Tommy Hopl<ins ‘§!"l l3-l 5. i\leither of these trips is related to the present cause of
action, which relates solely to Plaintiff" s claim for labor, services and equipment allegedly
furnished to Storm Services in 2008 in states other than l\flissouri. See l’laintiff" s Petition il 6;
Afiiidavit of Tommy l--l`opl<ins il 24. Storrn Services has only provided equipment or services in
Missouri twice: in 2006 at a site in St. Louis, Missouri where Plaintiff provided one laundry
trailer, and in 2008 Storm Scrvices arranged for the supply of three portable toilets, two hand-
washing units, and refueling of a generator at a site in loplin, l\/lissouri, with no involvement by
Plaintiff. Affidavit of Tommy Hopl<ins Tifl 20~2l. Neither of these occasions relate to the facts
ofthe present cause of action

l\/loreover, Storm Services’ contact with Piaintiff since the 2006 meeting in Norwood has

been limited to meetings in other states, as well as telephone and facsimile communications from

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Georgia or i\/iississippi for then purpose of activating Plaintiff for storm disaster assistance, and
for communications reiated to labor, services and equipment provided, as weil as invoices and
payments thereof Affidavit of Tornrny Hopl<ins iam i6, 22-?.3. The first contact Storm Services
had with Piaintiff was at a meeting in l\/iobile, Alabarna, shortly after which P_iaintift` initiated
and soiicited the business relationship in a te§ephone call to Storm Services in Georgia. Afiidavit
of l`ommy l~iopl<ins ill i i-`i..?,. lt was ?iaintifi" who periodically sent pricing forms to the offices of
Storna Services. Aftidavit of Tommy Hopitins ft 17. i\/Ioreover, by Plaintiff`s own admission in
ii 6 of the Petition, this action is based on claims lfor labor, services and equipment furnished for
storm disaster assistance in Mississippi, Louisiana_, and Texas, not Missouri. Based on an
analysis oi` the above factors, it cannot be said that Storrn Services has sufficient contacts with
l\/lissouri to satisfy the requirements of due process

None of the three primary factors used to determine if there has been sufficient minimum
contacts to satisfy due process, i.e., the nature and quality of contacts, the quantity oi" contacts,
and the relation of the cause of action to the contacts of Storin Services with Missouri, support
jurisdiction over Storm Services. Storm Services’ contacts with i\/lissouri are, at best: random,
fortuitous and attenuated, do not ;)roximately result from its own actions, and thus do not create
the required substantiai connection with i\/iissouri. Frorn the outset it was P§aintifi` who
purposefully directed activity toward Storrn Services by reaching out beyond the borders of
i\/lissouri to initiate contact and solicit business i"iowever, this type of uniiateral activity by a
plaintiff “cannot satisfy the requirement of contact with the forum State.” Hanson v. Denckla,
357 U.S. 23 ", 253 (1958).

l\/Iorcover, Piaintiff”s invoivement with Storni Services almost totally contempiated

performance outside of l\/iissouri. Wbile this may have required mobilization by the Piaintiff

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within Missouri, unilateral performance by Plaintiff within i\/iissouri also cannot supply the
required contact Scullin S£eel Cr). v. Natir)nal Ry. Utilization Corp., 676 F.2d 309, 313 (Sth
Cir. 1982). Cf.` Pr'oducts Plns, Inc. v. Clean Green, IMC.z i12 S.W.Bd i20, 125 (Mo. App. S.D.
2003) (finding jurisdiction proper where defendant`s performance occurred in i\/iissouri).
Finally, the contacts of Storrn Services with l\/lissouri consisting of telephone and facsiniiie
communications from Georgia or i\/lississippi, and payments sent from Georgia by wire transfer
or check through interstate mail do not establish jurisdiction Affidavi.t' of ri`ommy Hopl<ins
iii 22~23. As courts have consistently held, the use of interstate facilities such as telephones and
interstate mail is insufficient to confer jurisdiction E.g. Scullin Steel Co., 676 F.2d at 3l4;
figer Mfg. Corp. v. Loaa'star Matericzl Handli)zg Equip., Lm’., 34l F.Supp.2d i 107, l l i2 (W.l`).
i\/lo. 2004); Breiner v. Dyna.quip, Inc., 539 F.Supp. 204, 206 (l§.D. i\/lo. 1982). iiius, the nature
and quality of the contacts, the quantity of the contacts, and the relation of the cause of action to
the contacts of Storm Services with Missouri do not support jurisdiction over Storm Services in
i\/lissouri.

The remaining two factors cannot overcome these limited and insufficient contacts
between Storin Services and Missouri. Missouri may have a limited interest in providing a
forum to a Missouri limited liability company based on a contract, which was to be performed in
other states, but such an interest is secondary B.'~ya.n.t v. Smith laterior Design, i\`to. ED 9192¢§,
2009 WL 98l958, at to (l\/Io. App. E.D. April l¢i, 2009). As for convenience Georgia would
provide an equally convenient forum based on proximity to the locations where the contract was
actually performed, and thus does not favor jurisdiction one way or the other.

'l`hus, Storm Services has insufficient minimum contacts with i\/iissouri to satisfy due

process requirements Storm Services’ contacts with l\/iissouri are random, fortuitous and

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attenuated, do not proxi_mateiy result from its own actions, and do not create the required
substantial connection with i\/Iissouri. Accordin.giy, this Court lacks jurisdiction over Stonn
Services, and Plaintit`f’s Petition should be dismissed

II. Plaintiff"s Petition Fails To State Any Claim For Refief Or Any Cause Of Action
Upon Which Relief` May Properly Be Granted.

As noted above, l\/lissouri requires that a petition state u.itimate facts demonstrating
entitlement to the relief sought Green, 242 S.W.Bd at 379. A petition must “statef] factis] in
support of each essential element of the cause pleaded.” Id. (citation omi_tted). Failure by a
piaintiff to plead facts demonstrating entitlement to the relief sought ‘“deprives the trial court of
jurisdiction to grant [`the relief],” Williams, 174 S.W.Sd at 559. Moreover, a “[p]laintiff cannot
merely assert conclusions” and conclusions not supported by facts must be disregarded by the
Court “in determining whether a petition states a cause of action,” Id. at 560_ ln addition to
Plaintiff"s failure to state facts demonstrating personal jurisdiction over Storm Services, Plaintiff
has faiied to state a cause of action upon which relief may be granted for the following reasons.

A. Count l of Plaintiff’s Petition fails to allege that the charges for services

furnished were reasonable, an essential element to a cause of action on an
open account

Plaintit`f characterizes Count l as a cause of action for “Services Rendered." Plaintiff s
Petition at 2. Piaintit`f"s ciaim, however, in quantum meruit for services rendered is set forth in
Count ll, and the allegations of Count l actually attempt to set forth a cause of action properly
characterized as a suit on open accountl See Berlin v. Pz`cketi.‘, 221 S.W.Bd 406, le (Mo. App.
W.D. 2006) (delining a suit on open account as an action, based in contract, alleging a baiance
due on a series of transactions). To state a cause of action for an open account, Plaintiff must
plead facts-supporting three elements: (l) a request by defendant that plaintiff furnish services;_

(?.) that plaintiff accepted defendants request by furnishing such services; and (3) that the

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charges for services furnished were reasonable Id. at »’»l].O_l l. Plaintiff, however, fails to allege
and does not state facts to demonstrate that the charges for services furnished were reasonablel
Based on Piaintiff'"s failure to piead or to aliege any facts demonstrating that the charges were
rcasonabie, `Plaintiff has failed to state a cause of action for an open account

B. Count II of Plaintif`f’s Petition fails to plead facts supporting a claim for
` quantum meruit.

in Count il, Plaintiff attempts to plead a claim for quantum meruit l`o plead a claim for
quantum meruit_, Plaintiff"s Petition must allege facts supporting each cf the three elements of
such a ciairn: “(l`} benefit conferred by one party on another, (2) appreciation or recognition by
the receiving party of the fact that what was conferred was a bcnefit, and (3) acceptance and

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retention of the benefit in circumstances that would render that retention inequitable-5 Lucent
Technologies, Inc. v. Mid-Wcst Electronics, Inc., 49 S.W.Bd 236, 24ii (l\/fo. App. W.D. 20{}l).
Plaintiff_, however, fails to plead facts supporting either the second or third element, asserting
instead conclusions rather than facts demonstrating entitlement to the relief sought

Specifically, as to the second elenient, Plaintiff fails to allege any facts demonstrating
appreciation or recognition by Storm Services of the fact that anything conferred by Plaintiff was
a benefit lnstead, i"’laintiff merely asserts the conclusion that Storm Services “requested and
acceptcd” labor and services from l.’laintiff. Plaintiff’s Petition y lS. As to the third eiement,
Plaintiff fails to allege any facts demonstrating that Storm Services accepted and retained any
benefit under circumstances that would render retention inequitable Rather, Plaintiff merely
asserts in conclusory fashion that Storrn Services “accepted” labor and services from Plaiiitijff,
“failed and refused to pay” the remaining balance of _Sl,§BO,¢ilS.GO, and “has been unjustly
enriched by the unpaid portion.“ Piaintiff"s Petition, ‘Hl" lS, ZO-Zl. Accordingly, Piaintiff has

failed to state a cause of action for quantum meruit

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C. Count IV of Plaintiff’s Petition fails to plead facts supporting a cause of
action for an account stated.

ln Count iV, `Piaintiff attempts to state a cause of action for an account stated. An
account stated is defined as ‘“an agreement between the parties, having had previous financial
transactions, that a balance struck is correct and due between them, and a promise by the debtor,
either express or implied, to pay the balance."' Ozark Mm. Timber Products v. Redirs, 725
S.W.Zd 640, 648 (i\/.lo. App. S.D. 1987). To state a cause of action for an account stated,
Plaintiff must plead facts supporting three necessary elements: (l) an accounting between the
parties; (2) an agreement between the parties L‘upon a balance or a sum certain owing by one to
the other”; and (3) an agreement to pay the balance owed. Sr`mmll v. Morrow, 362 S.W.Zd 765_._
766 (l\/lo. App. K.C. 1962). Plaintiff_, however, fails to plead facts in support of any of the three
necessary elements, asserting conclusions rather than facts demonstrating entitlement to relief

As to the first element, Plaintiff does not plead facts demonstrating an accounting
between Storm Services and Plaintiff. Plaintiff merely states in conclusory terms that cL[o]n
February ll, 2009 Plaintiff furnished [Storin Services] with a statement of account.” Plaintiffs
Petition 529 l.\/loreover, as to both the second and third elements, Plaintiff"s allegations are
deficient as Piaintiff fails to plead or demonstrate both the existence of an agreement as to a
balance owed by Storm Services, and the existence of an agreement by Storm Services to pay
that balance 'l`hese agreements may be implied upon “retention of the account rendered for a
reasonable time without objection,” Oza.rk Mtrz. Timber, 725 S.W.Q,d at 648, but Plaintiff has not
alleged any facts demonstrating that Storrn Services retained an account rendered by Plaintiff for
more than a reasonable time without objection R.ather, Piaintiff merely asserts in conclusory
terms that Storrn Services “has not objected to the accuracy of the account.” Plaintiff” s Petition

il 30. Accordingly, Plaintiff has failed to state a cause of action for an account stated

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CONCLUSI()N
This Court iacks jurisdiction over Storin Services because Plaintiff fails to allege facts
demonstrating that the asserted causes of action arise out of activities covered by Missouri’s long
arm statute, and Storm Services’ limited contacts With Missouri are insufficient to satisfy due
process requirements Moreover, Plaintiff fails to state a cause of action upon Which relief may

be granted Accordingiy, Piaintiff`s entire Petitiori should be dismissed

submitted,p

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CER?IFICATE OF SERVICE

I` hereby certify that a true and correct cop _ of the above and foregoing has been sent, via
facsimile and U.S. Mail, postage prepaid, this day of June, 2009 to:

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